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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DAVID MUNIZ AND CATHY MUNIZ,                        Civil Action No. 3:23-cv-00825-JFS

                   Plaintiffs,

       v.

SILVIA VITIELLO AND AIR BNB,

                   Defendants.


                                    [PROPOSED] ORDER

       Based on the Stipulation of the Parties, Defendant Airbnb, Inc.’s deadline to respond to

the Complaint shall be extended up through and including June 26, 2023.

       IT IS SO ORDERED.



Dated: May ___, 2023
                                                      United States District Court Judge
